          Case 5:21-cv-00844-XR Document 742 Filed 09/01/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 LA UNION DEL PUEBLO ENTERO, et al.,                §
                                                                    CIVIL ACTION NO.
 Plaintiffs                                         §
                                                    §
                                                                     5:21-CV-0844-XR
 v.                                                 §
                                                    §
                                                              [Consolidated Action: Lead Case]
 GREGORY W. ABBOTT, et al.,                         §
 Defendants                                         §

DEFENDANT HILDA A. SALINAS’S NOTICE REGARDING MOTIONS IN LIMINE

       Defendant Hidalgo County Elections Administrator Hilda A. Salinas, pursuant to the

Court’s Order of August 23, 2023, hereby advises the Court that she has no motion in limine to be

considered by the Court in advance of trial in this matter. Nothing in this notice is to be construed

as an admission of any allegation against her in this action. Defendant Salinas reserves all

applicable defenses which may be raised at trial.

                                                        Respectfully submitted,

                                                        TORIBIO “TERRY” PALACIOS
                                                        CRIMINAL DISTRICT ATTORNEY
                                                        HIDALGO COUNTY, TEXAS

                                                        /s/ Leigh Ann Tognetti
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                                                        HILDA A. SALINAS
            Case 5:21-cv-00844-XR Document 742 Filed 09/01/23 Page 2 of 2




                                  CERTIFICATE OF SERVICE

          I certify that on September 1, 2023, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF filing system, which will send notification of this filing to all counsel of

record.



                                                       /s/ Leigh Ann Tognetti
                                                       Leigh Ann Tognetti
